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                              UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


  ANGEL DE JESUS ZEPEDA RIVAS, et                  Case No. 20-cv-02731-VC
  al.,
                Plaintiffs,                        ORDER GRANTING JOINT MOTION
                                                   TO VACATE ORDERS
          v.

  DAVID JENNINGS, et al.,
                Defendants.



       In light of the parties’ settlement agreement, the Court’s preliminary injunction orders

issued on June 9, 2020, and December 3, 2020 (Dkt. No. 357 and 867) are vacated.

       IT IS SO ORDERED.

Dated: June 9, 2022
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
